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 1   DAVID A. TORRES AND ASSOCIATES
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 5   Attorney for:
     BALTAZAR CASTANEDA GARCIA
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 7

 8                          IN THE UNITED STATES DISTRICT COURT
 9
                          FOR THE EASTERN DISTRICT of CALIFORNIA
10
                                                     )   Case No.: Case No.13-CR-00392 LJO-SKO
11   UNITED STATES OF AMERICA,                       )
                                                     )
12                  Plaintiff,                       )   STIPULATION AND ORDER TO
                                                     )   CONTINUE DETENTION HEARING
13         vs.                                       )   AND SET ARRAIGNMENT ON THE
     BALTAZAR CASTANEDA GARCIA,                      )   SUPERSEDING INDICTMENT
14
     ROBERT ANTHONY CANCHOLA and                     )
     JESUS MANUEL PERAZA RUIZ                        )
15
                                                     )
                    Defendant                        )
16
     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE SHEILA
17
     K. OBERTO AND LAUREL MONTOYA, ASSISTANT UNITED STATES ATTORNEY:
18
            COMES NOW Defendant, BALTAZAR CASTANEDA GARCIA, by and through his
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     attorney of record, DAVID A. TORRES hereby requesting that the Detention hearing currently
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     set for Tuesday, January 21, 2014 be continued to Monday, January 27, 2014. Counsel is also
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     requesting that the Preliminary Examination hearing set on January 22, 2014 be vacated and the
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     Arraignment on the Superseding Indictment be set on January 27, 2014.
23
            My office has been in contact with Pre-Trial Services Officer Frank Guerrero. He has
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     informed my legal assistant that the Pretrial Services Report will not be completed at the time of
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     the hearing. I am informed and believe that a one week continuance will give PSO Frank




                                       Summary of Pleading - 1
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 1   Guerrero adequate time to prepare said report. I have spoken to AUSA Laurel Montoya and she

 2   has no objection to continuing the Detention Hearing. Pretrial Services Officer Frank Guerrero

 3   also has no objection to the continuance.

 4           The parties also agree the delays resulting from the continuance shall be excluded in the

 5   interest of justice pursuant to 18 USC 3161 (h)(8)(A) and 3161 (h)(8)(B)(1).

 6           IT IS SO STIPULATED.

 7                                                                Respectfully Submitted,

 8   DATED:1/17/14                                                /s/ David A Torres        ___
                                                                  DAVID A. TORRES
 9                                                                Attorney for Defendant
                                                                  Baltazar Castaneda Garcia
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11
     DATED:1/17/14                                                /s/Laurel Montoya_____ ________
12                                                                LAUREL MONTOYA
                                                                  Assistant U.S. Attorney
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14
                                                 ORDER
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16
             IT IS HEREBY ORDERED that the Detention hearing and Arraignment on the
17
     Superseding Indictment be continued to January 27, 2014, and the Preliminary Examination be
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     vacated as to Mr. Baltazar Castaneda Garcia. Time shall be excluded for the reasons set forth in
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     the parties’ stipulation.
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21
     IT IS SO ORDERED.
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23       Dated:     January 17, 2014                             /s/ Sheila K. Oberto
                                                       UNITED STATES MAGISTRATE JUDGE
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                                        Summary of Pleading - 2
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                          Summary of Pleading - 3
